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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:09CR3031
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )          ORDER
MICHAEL KONING,                                )
                                               )
                     Defendant.                )



       IT IS ORDERED that:


       (1)    The defendant’s motion to reschedule sentencing hearing (filing 225) is
granted.


       (2)    Defendant Koning’s sentencing is continued to Wednesday, January 18, 2012,
at 1:00 p.m., before the undersigned United States district judge, 5 th Floor, Robert V. Denney
United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.


       Dated October 19, 2011.


                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
